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                      UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Perry Plotkin,                                 )
                                               )
                       Plaintiff,              )
                                               )              Case No. 23-cv-3035
                 v.                            )
                                               )              Hon. Jorge L. Alonso
UChicago Argonne LLC; D/B/A                    )
Argonne National Laboratory,                   )
                                               )
                       Defendant.              )

                               Memorandum Opinion and Order

       Before the Court is Defendant UChicago Argonne LLC’s motion to dismiss Plaintiff Perry

Plotkin’s amended complaint under Federal Rules of Civil Procedure 8, 10, and 12(b)(6). For the

reasons stated below, Defendant’s motion [18] is granted. Plotkin has leave to amend his complaint

within 28 days of the entry of this order. If he does not do so, the Court will terminate this action.

                                            Background

       Plotkin worked for Defendant for over 20 years, most recently as an operations assistant.

In September 2021, Defendant instituted a policy requiring its employees to receive the COVID-

19 vaccine. Plotkin informed Defendant of religious beliefs that conflicted with receiving the

COVID-19 vaccine or, in the alternative, mandatory testing for COVID-19. These beliefs include

that Plotkin “view[s] the body as a sacred vessel that [he is] responsible for maintaining purity-of-

being (‘health,’ ‘whole,’ ‘holy’) not ‘play god’ in genetic manipulation, not participating in lying

corruption, extortion, tyranny, and hypocrisy, nor the wrongs of others doing them.” (ECF No. 15

¶ 55.) Defendant exempted Plotkin from vaccination but required him to undergo mandatory

testing. At some point, Defendant told Plotkin not to arrive on-site to work. Defendant terminated

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Plotkin on November 19, 2021.

       Plotkin filed a charge against Defendant with the U.S. Equal Employment Opportunity

Commission and received a Notice of Right to Sue on February 15, 2023. Plotkin filed this action

on May 15, 2023, alleging Defendant’s conduct violates the Americans with Disability Act, Title

VII of the Civil Rights Act, and the Illinois Human Rights Act. On September 6, 2024, Defendant

moved to dismiss Plotkin’s complaint under Federal Rules of Civil Procedure 8, 10, and 12(b)(6).

(ECF No. 18.)

                                          Legal Standard

       The Court construes Plaintiff’s pro se complaint liberally and holds it to a less exacting

standard than it would a pleading drafted by an attorney. See Luevano v. Wal-Mart Stores, Inc.,

722 F.3d 1014, 1027–28 (7th Cir. 2013) (citing Arnett v. Webster, 658 F.3d 742, 751 (7th Cir.

2011)). A pro se plaintiff is still required to submit a complaint that includes a “a short and plain

statement of the claim showing that [she] is entitled to relief.” Fed. R. Civ. P. 8(a)(2). This

statement must “give the defendant fair notice of what the claim is and the grounds upon which it

rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citation omitted). The statement also

must contain sufficient factual matter, accepted as true, to “state a claim to relief that is plausible

on its face,” which means that the pleaded facts must show there is “more than a sheer possibility

that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Courts also

must “accept all well-pleaded facts as true and draw reasonable inferences in the plaintiffs’ favor.”

Roberts v. City of Chicago, 817 F.3d 561, 564 (7th Cir. 2016).

                                             Discussion

       From the complaint, the Court discerns that Plotkin is pleading claims for violation of the


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ADA, Title VII, and the IHRA and declines to dismiss these claims under Rules 8 or 10. However,

the Court dismisses Plotkin’s claims under Rule 12(b)(6) because the complaint fails to state a

claim upon which relief may be granted. This dismissal is without prejudice given Plotkin’s pro

se status and the fact that this is the first dismissal of his complaint. Runnion v. Girl Scouts of

Greater Chicago & Nw. Ind., 786 F.3d 510, 518 (7th Cir. 2015) (“In light of the presumption in

favor of giving plaintiffs at least one opportunity to amend, denying a plaintiff that opportunity

carries a high risk of being deemed an abuse of discretion.” (internal citation omitted)).

   I.      Rules 8(a) and 10

        Defendant first argues that dismissal of the complaint is warranted because the complaint

does not satisfy Rules 8(a) and 10 by providing Defendant proper notice of the claims it needs to

defend against. “The primary purpose” of Rules 8 and 10 “is to give defendants fair notice of the

claims against them and the grounds supporting the claims.” Standard v. Nygren, 658 F.3d 792,

797 (7th Cir. 2011). Under these rules, “dismissal is an appropriate remedy” “where the lack of

organization and basic coherence renders a complaint too confusing to determine the facts that

constitute the alleged wrongful conduct.” Id. at 798.

        Plotkin’s complaint suffers from certain flaws with organization and coherence. For

instance, Plotkin sets forth facts in two separate sections titled “Plain Statement” and “Statements

of Fact.” Within these sections the factual allegations are presented non-linearly, repeat themselves

at times, and are intertwined with legal conclusions. However, the Court is nonetheless able to

discern that Plotkin is pleading claims under the ADA, Title VII, and the IHRA because Plotkin

references these statutes explicitly and accuses the Defendant of discrimination based on his

alleged disability and religion. (See, e.g., ECF No. 15 ¶¶ 1–4, 11, 14, 22, 24–31, 35–36, 42–47,


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55–58, 60–61, 63–75, 77–79, 82.) Given the preference for resolving cases on the merits, the Court

will not dismiss these claims under Rule 8(a) or Rule 10. DeCola v. Starke Cnty. Council, No. 22-

3089, 2023 WL 3717487, at *1 (7th Cir. May 30, 2023) (“We prefer to decide cases on the merits

when we can, and we can do so here.”).

         To the extent that Plotkin intended to plead other causes of action in his amended

complaint, the Court dismisses those unidentified claims because it is unable to discern the facts

giving rise to the wrongful conduct. Should Plotkin amend his complaint, the Court suggests that

he attempts to organize his complaint in a more coherent manner, including presenting the factual

allegations in chronological order and separately from legal conclusions, providing dates that

correspond with his factual allegations where possible, explaining statements which are currently

conclusory, and by addressing the other criticisms raised by Defendant. (ECF No. 16 at 6–8.)

   II.      Plotkin Does Not State a Claim for Disability Discrimination

         Plaintiff alleges that Defendant violated the ADA and the IHRA because it discriminated

against him on the basis that he was “regarded as” or “recorded as” having a disability. (ECF No.

15 ¶ 1.) Specifically, he argues that Defendant’s COVID-19 policies regarded him as having a

diminished health capacity being unable to overcome COVID-19 naturally and being a direct threat

to the health and safety of others. (Id. ¶¶ 27–28, 44–46.) Defendant argues that Plotkin’s disability

discrimination claims fail because he is not disabled within the meaning of the ADA. The Court

agrees and dismisses Plotkin’s disability discrimination claims without prejudice.

         “A plaintiff charging violation of the Americans with Disabilities Act must allege that he

is disabled within the meaning of the Act, is nevertheless qualified to perform the essential

functions of the job either with or without reasonable accommodation, and has suffered an adverse


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employment action because of his disability.” Tate v. SCR Med. Transp., 809 F.3d 343, 345 (7th

Cir. 2015). The ADA defines a “disability” as “(A) a physical or mental impairment that

substantially limits one or more major life activities of such individual; (B) a record of such an

impairment; or (C) being regarded as having such an impairment (as described in paragraph (3)).”

42 U.S.C. § 12102(1). Paragraph (3) provides that “[a]n individual meets the requirement of ‘being

regarded as having such an impairment’ if the individual establishes that he or she has been

subjected to an action prohibited under this chapter because of an actual or perceived physical or

mental impairment whether or not the impairment limits or is perceived to limit a major life

activity.” Id. at § 3(A). Claims for disability discrimination under the IHRA are analyzed under

the same framework as claims under the ADA. Bilinsky v. Am. Airlines, Inc., 928 F.3d 565, 569

(7th Cir. 2019).

       Plotkin does not allege he has a current mental or physical impairment, but instead that

Defendant either recorded or regarded him as having an impairment because it believed that he

was susceptible to contracting COVID-19. Such a claim is not cognizable under the ADA because

the act does not “cover[] a situation where an employer views an applicant as at risk for developing

a qualifying impairment in the future.” Shell v. Burlington N. Santa Fe Ry. Co., 941 F.3d 331,

335–36 (7th Cir. 2019). In light of this precedent, courts have frequently recognized, contrary to

Plotkin’s position, that a vaccine or testing requirement does not violate the ADA even if premised

on the propensity of an employee to contract a disease. Coggin v. Medline Indus., Inc., 749 F.

Supp. 3d 960, 971 (N.D. Ill. 2024) (“[R]efusal to receive a vaccine is not a ‘physical or mental

impairment,’ as numerous other courts have found.” (collecting cases)); Ellis v. United Airlines,

Inc., No. 23 C 123, 2023 WL 5722887, at *2 (N.D. Ill. Sept. 5, 2023) (“In short, the fact that United


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perceived Ellis as having a higher risk of contracting COVID-19 in the future due to his

unvaccinated status does not allege a disability under the ADA. Every district court to address this

issue thus far appears to have concluded the same.” (collecting cases)). As such, Plotkin has not

adequately pleaded that he is disabled within the meaning of the ADA or the IHRA, and the Court

dismisses his disability discrimination claims without prejudice. 1

    III.      Plotkin Does Not State a Claim for Religious Discrimination

           Plotkin alleges that his religious beliefs prevented him from being vaccinated against or

tested for COVID-19, that Defendant failed to accommodate his beliefs, and that he was

wrongfully terminated because of his beliefs. Defendant argues, among other things, that Plotkin

has failed to state a claim for religious discrimination because he has not tied the COVID-19 testing

requirement to any religious tenet he holds. Because IHRA and Title VII involve the same

framework, the Court addresses Plotkin’s IHRA and Title VII claims together. Volling v. Kurtz

Paramedic Servs., Inc., 840 F.3d 378, 383 (7th Cir. 2016) (“Illinois courts apply the federal Title

VII framework to IHRA claims.”). The Court agrees with Defendant that Plaintiff has failed to

state a claim for disability discrimination.

           Title VII makes it unlawful to “fail or refuse to hire or to discharge any individual, or

otherwise to discriminate against any individual with respect to his compensation, terms,

conditions, or privileges of employment, because of such individual’s . . . religion[.]” 42 U.S.C.

§ 2000e-2(a)(1). In the Seventh Circuit, a claim for religious discrimination must be dismissed

where a plaintiff “has not made a case for why the testing requirement itself burdened her religious



1 Plotkin also seems to tie the religious discrimination he alleges to have faced to his claims for disability
discrimination. Even assuming that religious discrimination was relevant to an ADA claim, it does not undercut the
need to plead a qualified disability and does not save Plotkin’s claim.
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beliefs and practices.” Jackson v. Methodist Health Servs. Corp., 121 F.4th 1122, 1128 (7th Cir.

2024) (affirming dismissal of a Title VII claim regarding a COVID-19 testing requirement in lieu

of vaccination where the beliefs articulated were general and not inconsistent with the testing

requirement); see also Flores v. Cook Cnty., No. 23 CV 16260, 2024 WL 3398360, at *2 (N.D.

Ill. July 11, 2024) (“[C]ourts in this Circuit routinely dismiss religious discrimination claims

arising from COVID-19 vaccine mandates where the plaintiff fails to adequately explain the

connection between their opposition to the vaccine and a specific religious belief or practice.”

(collecting cases)); Hassett v. United Airlines, Inc., No. 23 C 14592, 2024 WL 1556300, at *3

(N.D. Ill. Apr. 10, 2024) (dismissing complaint where there was “no self-evident connection”

between the beliefs provided and the opposed vaccination requirement (collecting cases)).

       Plotkin alleges that he informed Defendant that he “view[s] the body as a sacred vessel that

[he is] responsible for maintaining purity-of-being (‘health,’ ‘whole,’ ‘holy’) not ‘play god’ in

genetic manipulation, not participating in lying corruption, extortion, tyranny, and hypocrisy, nor

the wrongs of others doing them” and “communicating (and maintaining) a relationship with a the

Deity of Plaintiff’s choice.” (ECF No. 15 ¶¶ 55, 63.) Even assuming these beliefs are religious in

nature, the Court cannot discern any connection between the beliefs and Defendant’s COVID-19

testing requirement. And Plotkin’s response to the motion to dismiss shines no light on such a

connection, instead arguing that his grievance regarding testing is “not about genetic manipulation

itself, it’s the bigger picture” and testing is “one mechanism, one tool, used by extension, effect,

and now excuse within the overarching discriminatory policy.” (ECF No. 21 at 5.) While perhaps

it is possible that the testing requirement violates one of Plotkin’s articulated religious beliefs, he




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has alleged no facts plausibly connecting any of those religious beliefs to the testing requirement. 2

As such, his claim for religious discrimination must be dismissed. Iqbal, 556 U.S. at 678; Hassett,

2024 WL 1556300, at *4 (“[T]he fact that Hassett need not provide supporting evidence at this

stage does not excuse him from the well-established requirement that he must at least plead facts

to support the plausible inference that United has violated Title VII.” (emphasis in original)).

         Accordingly, the Court dismisses Plotkin’s IHRA and Title VII claims without prejudice.

The Court does not reach the merits of Defendant’s alternative arguments except to note that if

Plotkin repleads his complaint, he should consider Defendant’s alternative arguments for the

dismissal of his religious discrimination claims.

                                                   Conclusion

         For the reasons stated above, Defendant’s motion to dismiss [18] is granted. The Court

grants Plotkin leave to file an amended complaint within 28 days of the entry of this order to add

sufficient factual allegations to remedy the dismissed claims. If he does not do so, the Court will

terminate this case on the understanding that Plotkin no longer wishes to pursue this action.


SO ORDERED.                                                             ENTERED: April 15, 2025



                                                                        ______________________
                                                                        HON. JORGE ALONSO
                                                                        United States District Judge




2 Plaintiff argues the religious exemption document he submitted to Defendant makes it clear that he can establish
religious discrimination. (ECF No. 21 at 4.) However, this document has not been provided to the Court in the
complaint or as an exhibit to Plotkin’s response to Defendant’s motion to dismiss. Should Plotkin amend his complaint,
he is free to quote from this document or attach it as an exhibit to the complaint.
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